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              From: Bozsman, WElt
              Scnt: W6d Apr 21 14'.15:292010
              To: Rainoy, David l; Ritchi6, Bryan; Rooney, Tsrry C;Vinson, Graham (Pinky); Thorset!, Jay c
              Cc: Epps, David S: Kercho, Debbie A; Ganserl, Tannen Skipnikova, Galina
              sub.iect RE: WCD - Updated
              lmportance: Normal
              Attachmonb: WcD plots.ppt

             Davq
             Wc haw updarcd th€ carlis wCD calculation }vilh ociv subGurface paramcte$ from $e N{acotrdo rcan and nlodclcd
             a flo{ tete at tlE sea floor (assuming riscr falls) in Prosper with the larcst u€llbore confguaton. All the REs in
             GoMX pariicipatd itl this cvoluation olong rvith numerox mcmbcn of the Mrcondo tram.
             Wc olculrl. 100,000 BOPD ltd 300 MMCrPD bascd on thcs€ p0ramdqs. This is sho*a in the !tuched
             Po.€rPoint
             we har€ idcntificd scvera.t i&ms, hoq,rvs ulat coutd impacl this rate to keq) in consi&ration.
             Items to lesscll flow - formation drin, fonnatiol collapse, Frnial rcstriclio$ in lhe rcllbore o, ar thc wellhEad,
              Itcrns to incrcarc flor - riser do€sn'l fall to scabcd, catastrophic friluE ofREllhcad allowirg floE-up 9 ?/8 x 16',
              co ributions &om uphole zolcs,
              Phasc ht us lnow i-t w€ D€€d lo prsvidc furthcr cxDlaMlioo or aDalysis.
              Rcgards,
              Walt and the Golvo( REs



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              Davc,
              We made a prelimiDsry estirnate of a rcw WCD fo, thc Ecllborc. A ra& of 162 mbopd was catq alcd for tbe EP. Our
              new mte (prclinimry) is 189 trrbopd sith Ulc bcttcr than expoc'tcd fluid propcnies out weighing the pon liner sctting
              casing dcsign (this is a $ra.llet nEll bort confituratio! lhar us€d for the EP calq adon).
              Thc calorlstion is gredy iflfluenccd by rhc p.rn€ability snd wc slc still usi[g our pltdrill €stimaE in thc abov€
              calcl atiol Bryan has GslilE ct.al. taskcd rrith rc-assessing this and a couplc olhcr kq1 subsurfacc paramcl€rs. On
              &c cala atioo sidc, Tamar is coming itr to providc a morr sophi$icat€d anausis oftbc calolation with Ptospcr
              sofrsnrc (vc$us 0 spresdshed calcul,alor that I uscd).
              Wc cxpcct to trpon back in a couplc hours wilh an updalcd assassmcnt.
              Rcgrrds,
              Wrlr
              PS - I am hcadiog homc for a showcr, my ccll numbcr is 281-87G2065




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    CONF!DENTIAL                                                                                           BP― HZN‐ 2179MDL02314243
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